       Case 18-41597-drd7                      Doc 6 Filed 06/14/18 Entered 06/14/18 00:01:03                                              Desc Ch 7
                                                 First Mtg Corp No POC Page 1 of 1
Information to identify the case:
Debtor
                   NorthRock, LLC                                                                   EIN 27−4701973
                   Name


United States Bankruptcy Court Western District of Missouri
                                                                                                    Date case filed for chapter 7 6/13/18
Case number: 18−41597−drd7

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        NorthRock, LLC

2. All other names used in the
   last 8 years
3. Address                                   14823 Holmes Road
                                             Kansas City, MO 64145

4. Debtor's attorney                         Ryan D. Kiliany                                                      Contact phone 816−221−6006
                                             Troppito Miller Griffin LLC
    Name and address                         105 East Fifth Street                                                Email: rdk@troppitomiller.com
                                             Suite 500
                                             Kansas City, MO 64106

5. Bankruptcy trustee                        Jill D. Olsen                                                        Contact phone 816−521−8811
                                             The Olsen Law Firm, LLC
    Name and address                         118 N. Conistor Ln.                                                  Email: trustee@olsenlawkc.com
                                             Suite B #290
                                             Liberty, MO 64068

6. Bankruptcy clerk's office                 U.S. Bankruptcy Court                                                Hours open:
                                             Charles Evans Whittaker Courthouse                                   9:00 am − 4:30 pm
    Documents in this case may be            400 East 9th Street, Room 1510
    filed at this address. You may           Kansas City, MO 64106
    inspect all records filed in this case                                                                        Contact phone 816−512−1800
    at this office or online at
    www.pacer.gov.                                                                                                Date: 6/14/18

7. Meeting of creditors                      July 23, 2018 at 09:00 AM                                            Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or adjourned to a later date. If        U.S. Courthouse, 400 East 9th Street,,
    questioned under oath. Creditors         so, the date will be on the court docket.                            Trustee Hearing Room 2110B, Kansas
    may attend, but are not required to                                                                           City, MO 64106
    do so.

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                      page 1
